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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 20-24619-CIV-ALTONAGA/Torres

 POET THEATRICALS MARINE,
 LLC; et al.,

         Plaintiffs,
 v.

 CELEBRITY CRUISES, INC.; et al.,

       Defendants.
 ________________________________/

                                                  ORDER

         THIS CAUSE came before the Court sua sponte.

         Counsel for the non-removing party must file a motion to remand the case based on any

 defect other than lack of subject matter jurisdiction 1 within thirty (30) days after the filing of the

 notice of removal under 28 U.S.C. section 1446(b).

         Counsel for the removing party is directed to file and serve a Removal Status Report no

 later than November 20, 2020. Failure to file a timely Removal Status Report shall be ground for

 remand. In addition to the Removal Status Report, counsel for the removing party must file copies

 of all records in the state court proceedings by that date.

         The Removal Status Report shall contain the following:

         (1)     A plain statement of the nature of the claim and any counterclaim, cross-claim or

         third-party claim made in state or federal court, including the amount of damages claimed

         and any other relief sought.




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  The issue of lack of subject matter jurisdiction may be raised at any time.   See 28 U.S.C. § 1447(c).
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        (2)    A plain statement of the ground for removal and a listing of all parties to the action,

        including parties to any third-party claim.

        (3)    A list of all pending motions.

        (4)    A brief statement by each Defendant explaining whether or not each has joined in

        or consented to the notice of removal.

        (5)    A statement regarding whether the Defendant(s) have removed the action within

        thirty (30) days after the receipt by the Defendant(s), through service or otherwise, of a

        copy of the initial pleading setting forth the claim for relief upon which the action or

        proceeding is based, or within thirty (30) days after service of summons upon the

        Defendant(s), if such initial pleading has then been filed in court and is not required to be

        served on the Defendant(s) in the action.

        If the removing party has provided some or all of the above information, briefly summarize

 the information requested and direct the Court to the location of the information in the record.

 Failure of the removing party or parties to timely provide in the Removal Status Report the

 information requested above, or information required by 28 U.S.C. section 1446(a), may result in

 remand of the action.

        Counsel for the removing party shall provide copies of this Order to all concerned parties.

        DONE AND ORDERED in Miami, Florida, this 12th day of November, 2020.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

 cc:    counsel of record

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